Filed 8/23/24 P. v. Fuentes CA2/8
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                      DIVISION EIGHT

 THE PEOPLE,                                                      B320065

           Plaintiff and Respondent,                              (Los Angeles County
                                                                  Super. Ct. No. BA478241-01)
           v.

 ADEMAR OSBELI FUENTES,

           Defendant and Appellant.


      APPEAL from a judgment of the Superior Court of Los
Angeles County, Deborah S. Brazil, Judge. Affirmed with
directions.

     Derek K. Kowata, under appointment by the Court of
Appeal, for Defendant and Appellant.

      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Assistant
Attorney General, Steven D. Matthews and Gary A. Lieberman,
Deputy Attorneys General, for Plaintiff and Respondent.
                   _________________________
      On October 27, 2021, a jury found appellant Ademar Osbeli
Fuentes guilty of four counts of lewd and lascivious acts upon a
child under age 14 in violation of Penal Code1 section 288,
subd. (a). Appellant was sentenced to a term of imprisonment of
12 years, composed of the midterm of six years on count 1 and
one-third the midterm of two years to be served consecutively on
the three remaining counts. We affirm the judgment.
                              FACTS
       In 2015, A.O. (born in 2003) lived with appellant, her
mother and her half-sister I.F. A.O. had known appellant since
she was three and a half years old. She testified that there was
“a lot of love and trust in that relationship” and that she loved
and trusted appellant. Her relationship with appellant was
“more tight” than her relationship with her mother. Besides I.F.,
appellant has three other children.
       Appellant, A.O.’s mother, A.O., and I.F. lived in a two-story
house. On the first floor were the living room, kitchen and
laundry room. Upstairs were three bedrooms. There was a
bedroom for A.O.’s mother and appellant, a guest room, and a
bedroom A.O. shared with I.F.
       A.O. was scared to sleep alone and asked to sleep with
appellant, which she did about six times. They slept in the guest
room.
A.    Count 1
      A.O., 12 years old at the time, was awake and lying on her
back. Her eyes were closed and the lights were off. Appellant



1     Undesignated statutory references are to the Penal Code.




                                 2
thought she was asleep. Appellant gripped her breasts with both
hands. Next, he slipped his hand under A.O.’s underwear and
touched the outside of her vagina. He was moving his fingers
around. A.O. knew this was a sexual act. She testified that she
was “surprised because it was something he’s never done before,
something that I never experienced. So I was—I was in shock.”
A.O. moved her body. Appellant realized she was awake and
stopped touching her. A.O. stayed in bed and never told anyone
what happened. She was confused because appellant had never
done such things before.
B.    Counts 2, 3 and 4
      A.O. was still 12 years old. She went back to the bed in the
guest room with appellant because she loved him “and I trusted
him and I didn’t fear him and I just needed the company.” She
was asleep. When she woke up, her clothes were off. Appellant
put his fingers inside her vagina. His fingers were moving inside
her vagina. Appellant said he loved her and A.O. said “ ‘I know.’ ”
Next, he put his mouth on her vagina. “His tongue was moving
on my vagina.” Appellant was on his knees as he put his erect
penis in her mouth. He ejaculated. A.O. testified that she was
confused and didn’t know what was going on. After this incident,
she did not want to be alone with appellant anymore. While she
originally thought her family was perfect, “after the abuse it is
really hard to keep living with him with those expectations
because it wasn’t true.”
      A.O. did not tell anyone about the abuse because no one
would believe her. It was difficult for her to talk about the abuse
because “he was the only person that I truly loved and I know
cared about me. And I just didn’t want to lose that.”




                                3
       The jury found true the allegation that appellant sexually
penetrated A.O.’s vagina (count 2) and that he engaged in an act
of oral copulation (counts 3 and 4), in violation of section
1203.066.
C.    The Las Vegas Incident
       A.O. recalled that when she was 13 years old, she and I.F.
went to Las Vegas with appellant. The three of them stayed at a
hotel in a room that had two beds separated by a nightstand.
A.O. slept in the bed next to the bathroom and I.F. slept in the
other bed next to the window with appellant. A.O. woke up to
appellant touching her breasts. Appellant touched her thigh and
inserted his fingers in her vagina, and she grabbed his hand and
told him to stop. Appellant tried to get on top of her, but A.O.
pushed him off and told him to stop. When she tried to get off the
bed, appellant pulled her back on the bed, and A.O. “just laid
there like always.” I.F. remained asleep. When appellant
finished touching her, he went to the bathroom, and A.O. stayed
in bed and started to cry. Appellant came out of the bathroom,
got on his knees and started to pray. He cried and said that he
was sorry, and A.O. told him it was “okay” but really was not.
A.O. said her head hurt and appellant gave her a Tylenol. He
asked what she wanted for her birthday. She said she no longer
wanted to go to the concert for her birthday, but appellant said he
was still going to take her.
       After the trip to Las Vegas, A.O. stopped visiting appellant.
A.O.’s mother asked A.O. if appellant had done anything to her.
A.O. felt embarrassed and blamed herself (“I felt like it was my
fault”) and told her mother nothing had happened.




                                 4
      After the incidents occurred, A.O. learned from her aunt
that appellant was not her biological father. A.O. was confused
and surprised by this revelation.
D.    Disclosure
       On January 12, 2019, when A.O. was 15 years old and a
sophomore in high school, she went to an overnight school retreat
focused on social and emotional well-being. Her school counselor,
Ms. Lopez, was present with another counselor and the girls in
her cabin formed a sharing “circle” and started to share different
things from their lives. A.O. disclosed that appellant had done
sexually inappropriate things to her. “I was a sophomore in high
school and we went to a camp that my school uses. And it was
the second night at the camp and we were in the cabin with the
girls that was assigned to that cabin. [¶] And we put on our
pajamas and were just talking and I just felt the need to say it.
And I just said what had happened. [¶] And my counselor was
there and another counselor was there and the Monday of that
week [my counselor] called me into her office and she told me
that I had to come forward about it.”
       A.O. testified her mother knew “something was happening”
and A.O. “needed to tell someone because I couldn’t deal with
what I was going through alone.” “I felt really, really relieved,
and it felt really good.”
       After the circle concluded, Lopez took A.O. aside and
explained she was a mandated reporter with a duty to report the
incident. A.O. was afraid her mother and I.F. might not believe
her and she was also afraid that something might happen to I.F.
       On Monday, January 14, 2019, Lopez reported the incident
to the Los Angeles County Department of Children and Family
Services. When Lopez called A.O.’s mother to come to her office,




                                5
A.O. asked Lopez to explain the incident to her mother and
remain with her while she spoke to her mother. After Lopez told
A.O.’s mother that A.O. had disclosed an incident she had to
report, A.O.’s mother started to cry and asked A.O. if she was
sure that it happened and A.O. said “Yes.” Afterward, A.O.’s
mother took A.O. to the police station to make a report.
E.    Child Sexual Abuse Accommodation Syndrome
      (CSAAS)
       Dr. Jayme Jones is a Clinical Psychologist and expert on
the sexual abuse of children. Dr. Jones explained that CSAAS is
a model that was developed by Dr. Roland Summit to help people
understand the reactions of children who have been sexually
abused. It is not a diagnostic model and does not tell whether or
not someone was abused. Dr. Jones is not familiar with the facts
of this case and does not know the victim. This is intentional
because Dr. Jones wanted to focus on the reaction of children in
general rather than this specific case.
       According to Dr. Jones, there is an assumption that
children who are attacked will fight back or run away when,
actually, they tend to freeze. There is also an assumption that
children will immediately disclose that they have been abused
when most never tell anyone, and those that do often disclose the
abuse years or decades later.
       Dr. Jones explained there are five parts to CSAAS: secrecy,
helplessness, accommodation, delayed disclosure, and
recantation. Secrecy stands for the fact that child sexual abuse
happens in private and there are no witnesses. Helplessness has
two aspects to it. One is the physical disparity between children
and adults, i.e., children don’t fight because they can’t win. The




                                6
second aspect is that children are raised to do what adults tell
them to do.
       Children learn to accommodate or cope with ongoing abuse.
One of the most common ways to accommodate abuse is to
pretend it has not happened. Delayed disclosure means most
children never tell anyone about the abuse and, when they do tell
someone, it is often years later. A small number of children will
disclose during the first year but it is much more common that
they disclose the abuse years later, if at all. Disclosure comes out
bit by bit, depending on the reaction of the person to whom the
child discloses the abuse.
       Recantation is the taking back of a disclosure, and although
it is not present in every case, it is much more common in cases
where there is a negative reaction following a disclosure.
       Dr. Jones explained it is a myth that a child sexual abuse
victim will disclose immediately after the abuse. Studies have
shown that 10 to 15 percent of victims disclose within the first
year and 20 to 25 percent disclose up to five years after the
abuse. It is also a myth that a child will not go near the abuser
again because the child has both positive and negative feelings
about the abuser.
F.    The Polygraph Test
      On May 13, 2019, Los Angeles Police Department
polygraph examiner Jesse Delgado conducted a video recorded
interview of appellant. The interview was voluntary and
appellant was told he was free to leave. Appellant denied
sexually abusing A.O. After Delgado told appellant he failed the
polygraph test, appellant said he was sorry for what he did, and
he had been crying for two years. Appellant admitted he put his
penis in A.O’s mouth once. He denied ejaculating. Appellant also




                                 7
admitted he put his finger on A.O.’s vagina once, and he licked
her vagina once. However, appellant claimed A.O. “was the one
that started.”
      At trial, the court gave the jury a limiting instruction on
the polygraph test.2
G.    The Defense Case
      Appellant testified in his defense and denied sexually
abusing A.O. Appellant characterized his admissions during the
polygraph test as lies.
      Appellant grew up in Guatemala and has a degree in
education. He came to the United States in 1992 when he was
19 years old. He married during the next five years and had two
children. He worked sequentially sewing clothes on a sewing
machine, as a driver, and as a maintenance technician. He has
held the last position for 26 years.
      Family members testified appellant is not a child molester.
      The defense presented evidence by a forensic psychologist
about false confessions.


2      “You may hear evidence of a statement made by the
polygraph examiner to the defendant regarding possible
polygraph test results. [¶] This statement is not being admitted
for the truth of the matter asserted in that statement. Rather,
this statement is being admitted for the sole purpose of showing
the affect or impact on the listener. [¶] The actual polygraph test
results are not admitted as evidence. You may consider the
statement made by the polygraph examiner solely to judge the
credibility and/or reaction, behavior and statements made
thereafter by the defendant. [¶] Evidence of the polygraph
examiner’s statements concerning the results of the polygraph
[test] may not be used by you for any other purpose.”




                                 8
                          DISCUSSION
A.    CSAAS Evidence Is an Established and Useful
      Doctrine of California Law
       Appellant contends it was error to admit evidence about the
CSAAS doctrine. According to appellant, CSAAS evidence is
irrelevant and prejudicial, rendering appellant’s trial
fundamentally unfair.
       CSAAS is an established doctrine in California. Contrary
to appellant’s contention, CSAAS, properly applied, serves to
inform the jury of the characteristics of sexually abused children
and their parents, a topic with which juries cannot be expected to
be familiar. “Most jurors, fortunately, have been spared the
experience of being the parent of a sexually molested child.”
(People v. McAlpin (1991) 53 Cal.3d 1289, 1302 (McAlpin).) An
important limitation of CSAAS evidence is that it cannot be used
to prove that the actual sexual abuse has in fact occurred.
CSAAS evidence is used to explain the conduct of sexually abused
children as a class and of their parents, if parental behavior is at
issue. CSAAS describes the syndrome3 of a sexually abused
child.
       People v. Bledsoe (1984) 36 Cal.3d 236 (Bledsoe), addresses
how the legal system treats a syndrome recognized by the
medical profession. In Bledsoe, the defendant was charged with
the forcible rape of a 14-year-old-girl. A rape counselor testified


3     A syndrome is defined as a group of signs and symptoms
that occur together and characterize a particular abnormality.
(’Merriam-Webster Dictionary Online (2024)
https://www.merriam-webster.com/dictionary/syndrome [as of
August 22, 2024], archived at &lt;https://perma.cc/3P59-48SL&gt;.)




                                 9
about “rape trauma syndrome” and then gave her opinion that
the girl was suffering from it. (Id. at pp. 242–243.) “[I]n such a
context expert testimony on rape trauma syndrome may play a
particularly useful role by disabusing the jury of some widely
held misconceptions about rape and rape victims, so that it may
evaluate the evidence free of the constraints of popular myths.”
(Id. at pp. 247–248.) In Bledsoe, however, the evidence was
introduced as a means of proving that the rape had in fact
occurred. (Id. at p. 248.) The court concluded that testimony
that a complaining witness suffers from rape trauma syndrome is
not admissible to prove that the victim was raped. “We
emphasize that our conclusion in this regard is not intended to
suggest that rape trauma syndrome is not generally recognized or
used in the general scientific community from which it arose, but
only that it is not relied on in that community for the purpose for
which the prosecution sought to use it in this case, namely, to
prove that a rape in fact occurred. Because the literature does
not even purport to claim that the syndrome is a scientifically
reliable means of proving that a rape occurred, we conclude that
it may not properly be used for that purpose in a criminal trial.”
(Id. at p. 251.) Thus, while evidence about rape trauma
syndrome was admissible to the extent that it was informative
about the characteristics of persons afflicted with this syndrome,
evidence of the syndrome could not be used to prove that the rape
had actually occurred.
       People v. Roscoe (1985) 168 Cal.App.3d 1093 (Roscoe) drew
on Bledsoe, to decide a case involving the sexual molestation of a
minor. In Roscoe, defendant was convicted of oral copulation and
sodomy of a 15-year-old boy. (Id. at p. 1095.) A clinical
psychologist spent 15 sessions or more with the boy and testified




                                10
that “certain tests” corroborated his clinical findings that the boy
had been diagnosed as a victim of a child molestation. (Id. at
p. 1098.)
       The court found that Bledsoe allowed expert testimony on
such topics as the victim’s credibility. “Thus, for example, a
victim whose credibility is attacked for initially denying that he
had been molested could be rehabilitated by expert testimony
that such denials are more likely than not in molestation cases.”
(Roscoe, supra, 168 Cal.App.3d at p. 1099.) However, the opinion
had to be based on based upon the literature in the field and the
general professional experience of the witness rather than upon
the facts of the case at hand. “The testimony would not be that
this particular child was a victim of molestation, causing him to
react in a certain way, but rather that as a class victims of
molestation typically make poor witnesses, and are reluctant to
disclose or discuss the sordid episodes.” (Ibid.) The court
concluded the psychologist’s testimony that the boy had been
molested was inadmissible under Bledsoe. (Id. at p. 1100.)
       People v. Bowker (1988) 203 Cal.App.3d 385 addresses
testimony about CSAAS. In this case, a 10-year-old girl and her
nine-year-old brother exhibited signs of sexual abuse. (Id. at
p. 388.) An expert testified at length about CSAAS, describing its
five stages. (Id. at p. 389.) However, the expert went beyond the
parameters established by Bledsoe. His testimony was replete
with comments designed to elicit sympathy for child abuse
victims and solicitations that children should be believed. The
expert “in effect said regardless how inconsistent a child’s
accounts of abuse are, abused children give inconsistent accounts
and are credible nonetheless.” (Id. at p. 394.) The court
concluded this amounted to testimony that the molestation had




                                11
in fact occurred. (Id. at p. 395.) Bowker explained the ground
rules for CSAAS evidence: “[T]he jury must be instructed simply
and directly that the expert’s testimony is not intended and
should not be used to determine whether the victim’s molestation
claim is true. The jurors must understand that CSAAS research
approaches the issue from a perspective opposite to that of the
jury. CSAAS assumes a molestation has occurred and seeks to
describe and explain common reactions of children to the
experience. [Citation] The evidence is admissible solely for the
purpose of showing that the victim’s reactions as demonstrated
by the evidence are not inconsistent with having been molested.”
(Id. at p. 394.) The court concluded that the expert’s testimony
about CSAAS had not been properly limited. (Id. at p. 395.)
       Given these guidelines, admission of CSAAS evidence has
been approved where it is used to explain the reaction of children
and parents to abuse. (People v. Gray (1986) 187 Cal.App.3d 213,
218 [CSAAS evidence used to explain delay in reporting abuse];
People v. Sanchez (1989) 208 Cal.App.3d 721, 735 (Sanchez)
[CSAAS evidence can be used to dispel misconceptions]; People v.
Harlan (1990) 222 Cal.App.3d 439, 449 [CSAAS evidence used to
explain delayed disclosure]; People v. Gilbert (1992) 5 Cal.App.4th
1372, 1383 [CSAAS evidence used to rehabilitate credibility],
superseded on other grounds as recognized in People v. Levesque
(1995) 35 Cal.App.4th 530, 536-537; People v. Patino (1994)
26 Cal.App.4th 1737, 1745 [CSAAS evidence used to buttress
victim’s credibility]; In re S.C. (2006) 138 Cal.App.4th 396, 418
[CSAAS evidence on the issue of recantation]; People v. Perez
(2010) 182 Cal.App.4th 231, 245 [CSAAS evidence used to explain
inconsistency in victim’s testimony]; and People v. Munch (2020)




                                12
52 Cal.App.5th 464, 467 (Munch) [CSAAS evidence used to
explain delay in reporting].)
       CSAAS evidence, properly applied, sets forth various
standards applicable to child sexual abuse. As an example, delay
by the victim in reporting the abuse is common. The finder of
fact is then asked to determine whether the child conformed to
the standard, i.e., whether the child delayed in reporting the
abuse. If the answer is yes, the jury may find that the child’s
conduct is not inconsistent with that of an abused child. The jury
may then proceed to find, although it does not have to do so, that
the child is credible notwithstanding their conduct. It is evident
that in setting general standards, CSAAS functions in a manner
with which the legal system is very familiar.
       CSAAS, delivered with an instruction to the jury that
CSAAS does not prove that the molestation or abuse has actually
occurred, is a useful tool that informs the jury of the
characteristics of children, as a class, who have been sexually
abused.
B.    Appellant’s Objections to CSAAS Evidence are
      Without Merit.
       Appellant advances various objections to CSAAS evidence.
None of them are meritorious.
       A preface is in order. CSAAS evidence is not limited to
rehabilitating the credibility of a complaining witness. While
this is a function of CSAAS, it is not its only function. CSAAS
also informs the jury of aspects unique to child sexual abuse,
such as accommodation and delayed reporting. In addition,
CSAAS provides a global summary of the unique features of child
sexual abuse cases. Given that the jury is generally not familiar




                               13
with child sexual abuse, a global perspective is certainly
pertinent.
       Appellant contends that an expert “testified regarding
statistical data regarding delayed disclosure of child sexual
abuse.” It is true Dr. Jones testified that studies have shown
that 10 to 15 percent of victims disclose within the first year and
20 to 25 percent disclose up to five years after the abuse. In this
case, the delay was three years. It is evidently an aspect of child
sexual abuse that frequently there is a delay in reporting the
abuse. A properly qualified expert like Dr. Jones can certainly
testify to this aspect of child sexual abuse. The testimony was
general and did not provide an opinion about the delay in this
case.
       Appellant claims that Dr. Jones “unfairly vouched for the
victim’s credibility.” Nothing of the sort occurred. Dr. Jones is
not familiar with the facts of this case and does not know the
victim. This is intentional because Dr. Jones wanted to focus on
the reaction of children in general rather than the victim’s
reaction in this specific case.
       Appellant claims that Dr. Jones invited the jurors to
presume “appellant was guilty based on statistical probabilities.”
That simply is not true. Dr. Jones’ testimony was limited to
generalities about child sexual abuse and made no reference
whatever to the facts of this case.
       Without citation to authority, appellant claims CSAAS
evidence is “equally consistent with false accusations as they are
with true accusations.” The premise of this contention is
incorrect. There is no “false accusation” under CSAAS. In fact,
there is no “accusation” whatever under CSAAS because the
working assumption is that abuse has occurred.




                                14
       Appellant claims CSAAS evidence “does not meet the legal
requirements for the admissibility of scientific evidence.” The
contrary is true. It has been held that CSAAS evidence meets the
Kelly-Frye4 standard. (Sanchez, supra, 208 Cal.App.3d at
pp. 734–735.)
       Appellant contends “[a] review of the testimony in this case
shows that the prosecution expert never interviewed the victim
and never reviewed reports relating to this case, but was simply
testifying to show that the victim’s behavior was consistent with
an abuse victim.” Dr. Jones never testified that A.O.’s behavior
was consistent with that of an abuse victim. She pointedly did not
refer to the facts of this case, with which she was not familiar.
       Next, appellant states CSAAS expert testimony serves no
legitimate purpose. That is not true. One of the purposes of
CSAAS evidence is to summarize pertinent aspects of child
sexual abuse, such as secrecy and helplessness. Another is to
inform the jury that sexually-abused children tend to delay
reporting the abuse. This was information the jury needed to
know in deciding whether A.O. was telling the truth, but the
information did not tell the jury how to decide that issue.
       Appellant cites People v. Wilson (2019) 33 Cal.App.5th 559and People v. Julian (2019) 34 Cal.App.5th 878 for the
proposition that statistical evidence is inappropriate because it
supplants the jury’s decision about the credibility of the victim.
In Wilson, the expert testified that there was at least a 94
percent chance that the victim was telling the truth. (Wilson, at
p. 570.) In Julian, the same expert testified there was a 92 to 99


4     People v. Kelly (1976) 17 Cal.3d 24, 30 and Frye v. United
States (D.C. Cir. 1923) 293 Fed. 1013, 1014.




                                15
percent probability that there had been abuse. (Julian, at
p. 886.) There was no such testimony in this case. Dr. Jones
made it clear that she was not familiar with the facts of this case,
did not know A.O., and had not met her. Dr. Jones offered no
opinion on the statistical probabilities that abuse had taken
place. In fact, she offered no opinion whatsoever on this case.
        Appellant argues CSAAS evidence does not serve any
useful function because there are no longer misconceptions to
correct about child sexual abuse. But CSAAS is not limited to
dispelling misconceptions. CSAAS also serves to identify the
unique features of child sexual abuse such as delayed reporting
and accommodation. CSAAS also summarizes from a global
perspective the identifying characteristics of child sexual abuse,
i.e., secrecy, helplessness, accommodation, delayed reporting, and
recantation. A global overview of child sexual abuse is without a
doubt useful information for a jury deciding such cases.
        Appellant states CSAAS evidence is not science. But there
is no claim that CSAAS evidence is “science.” CSAAS
summarizes various aspects of child sexual abuse and presents
them in a coherent fashion. It also furnishes information the jury
needs to make its decision, but it does not tell the jury what that
decision should be.
        “The problem with CSAAS evidence is the likelihood the
jury will misuse it as a diagnostic tool to determine if the
complaining witness has been molested.” Not so. CALCRIM
No. 1193, as given here, specifically states that “Dr. Jones’
testimony about [CSAAS] is not evidence that the defendant
committed any of the crimes charged.”
        Appellant states “CSAAS evidence is generic testimony
unrelated to the case at hand or the alleged victim.” That is quite




                                16
true. CSAAS summarizes five aspects of child sexual abuse and it
furnishes the jury with information about child sexual abuse.
      Appellant also states “CSAAS evidence is unreliable as a
matter of law to prove that a molest[ation] has occurred.” CSAAS
evidence assumes that abuse has occurred. It is not used to prove
that abuse has occurred.
      Appellant contends that CSAAS evidence violated due
process because “[c]ontrary to the normal use of evidence, the
CSAAS testimony served to tell the jury the opposite—that
evidence of the witness lacking credibility was instead proof the
witness was credible.” But no opinion was offered by Dr. Jones
on A.O.’s credibility. As discussed in the next section, CSAAS
evidence only informed the jury that it could, but did not have to,
discount A.O.’s inconsistent conduct while deciding whether she
was credible.
C.    CALCRIM No. 1193 Is Not Inconsistent.
      The court instructed the jury with CALCRIM No. 1193 as
follows: “You have heard testimony from Dr. Jayme Jones
regarding [CSAAS]. [¶] Evidence presented by Dr. Jones’
testimony about [CSAAS] is not evidence that the defendant
committed any of the crimes charged. [¶] You may consider this
evidence only in deciding whether [A.O.’s] conduct was not
inconsistent with the conduct of someone who has been molested,
and in evaluating the believability of her testimony.”
      Appellant contends that “evaluating the believability of her
testimony” impermissibly broadens the use of CSAAS evidence
and invites the jury to find that A.O. is credible and that
appellant molested her. Appellant states this lessens the
prosecution’s burden of proof and also violates the due process
clause.




                                17
       We review instructional error claims under a de novo
standard of review. (People v. Lapenias (2021) 67 Cal.App.5th
162, 175 (Lapenias).)
       Appellant interprets “believability of her testimony” as
referring to the decision whether or not A.O. had been abused.
The argument is that if the jury finds the child to be credible, it
will conclude that the abuse took place. But this conflicts with
the preceding sentence in CALCRIM No. 1193 that CSAAS is not
evidence that the defendant committed the crimes charged.
       The phrase “evaluating the believability of her testimony”
in CALCRIM No. 1193 refers to a process about the child’s
credibility that is ongoing and continuous and may very well lead
to the conclusion that the child cannot be believed.
       An explanation is in order. There was much in A.O.’s
conduct that was at best equivocal. After the first encounter, she
returned to sleep again with appellant. And she delayed in
reporting the abuse. CSAAS explains this conduct with the
observation that abused children will accommodate the abuser
and delay reporting the abuse. A.O.’s conduct was therefore not
inconsistent with the conduct of someone who has been molested.
Her believability was therefore not necessarily affected by the
inconsistency of her conduct. The jury could disregard her
conduct in deciding whether she could be believed, i.e., CSAAS
neutralized A.O.’s self-impeaching behavior. The jury could still
conclude that A.O. could not be believed but it would reach that
conclusion on factors other than that she went back to sleep with
appellant after the first encounter and delayed reporting the
abuse.




                                18
      People v. Gonzales (2017) 16 Cal.App.5th 494 put the
foregoing point this way: “A reasonable juror would understand
CALCRIM No. 1193 to mean that the jury can use [the CSAAS
expert] Ward’s testimony to conclude that [the child’s] behavior
does not mean she lied when she said she was abused. The jury
also would understand it cannot use Ward’s testimony to
conclude [the child] was, in fact, molested. The CSAAS evidence
simply neutralizes the victim’s apparently self-impeaching
behavior. Thus, under CALCRIM No. 1193, a juror who believes
Ward’s testimony will find both that [the child’s] apparently self-
impeaching behavior does not affect her believability one way or
the other, and that the CSAAS evidence does not show she had
been molested. There is no conflict in the instruction.” (Id. at
p. 504, italics added.)
      The foregoing is not an isolated decision. Munch, supra,
52 Cal.App.5th at p. 474, Lapenias, supra, 67 Cal.App.5th at
pp. 175–176, People v. Ortiz (2023) 96 Cal.App.5th 768, 815–816,
and People v. Ramirez (2023) 98 Cal.App.5th 175, 219–220 all
follow the interpretation of CALCRIM No. 1193 that appears in
Gonzales. These cases are supported by McAlpin, which held
that an expert testifying that it is not unusual for a parent to
refrain from reporting a known molestation of his or her child
was testimony which the jury needed in order to objectively
evaluate the parent’s credibility. (McAlpin, supra, 53 Cal.3d at
pp. 1300–1302.) McAlpin approved the use of CSAAS-type
testimony to empower the jury to disregard conduct inconsistent
with the status of the testifying witness.
      These cases have not only followed the interpretation of
CALCRIM No. 1193 in People v. Gonzales, they have also rejected
claims, like those advanced in this case, that this instruction




                                19
violates due process and lessens the prosecution’s burden of
proof, when, in fact, this instruction only informs the jury that it
may, but does not have to, disregard inconsistent conduct by the
allegedly abused child in deciding whether the child can be
believed.
       CSAAS in this context is informative. It does no more than
inform the jury of unusual features of child abuse cases. The
jury, composed of people living everyday lives, cannot be expected
to be aware of the fact that children will try to accommodate the
abuser and may also delay reporting the abuse.5 Being told that
one can, but need not, ignore inconsistent conduct does not even
remotely implicate the due process clause. The same can be said
of appellant’s argument that this instruction lessens the
prosecution’s burden of proof.
D.    It Was Not Error to Instruct the Jury with CALCRIM
      No. 1191B.
      Appellant contends it was error to instruct the jury with
CALCRIM No. 1191B because it allowed the jury to “consider
charged offenses as propensity evidence on other charged
offenses.”
      In People v. Villatoro (2012) 54 Cal.4th 1152 (Villatoro) our
Supreme Court approved an instruction basically identical to
CALCRIM No. 1191B. (Villatoro, at p. 1167.) The instruction
approved in Villatoro is CALCRIM No. 1191, which is largely
based on Evidence Code section 1108: “In a criminal action in


5      It bears repeating. “Most jurors, fortunately, have been
spared the experience of being the parent of a sexually molested
child.” (McAlpin, supra, 53 Cal.3d at p. 1302.)




                                20
which the defendant is accused of a sexual offense, evidence of
the defendant’s commission of another sexual offense or offenses
is not made inadmissible by [Evidence Code s]ection 1101, if the
evidence is not inadmissible pursuant to [Evidence Code s]ection
352.” (Evid. Code, § 1108, subd. (a).)
       Appellant correctly acknowledges we are bound to follow
Villatoro under Auto Equity Sales, Inc. v. Superior Court (1962)
57 Cal.2d 450, 455 (Auto Equity Sales). Not only are we bound by
Villatoro, but we must also follow the law the Legislature has
enacted. The extended analysis of the issue by Villatoro aside
(Villatoro, supra, 54 Cal.4th at pp. 1159–1167), Evidence Code
section 1108, subdivision (a) requires us to approve of the use of
propensity evidence when it comes to sexual offenses. “[I]n a sex
offense case, as here, the Legislature has made the careful
determination that evidence the defendant committed one or
more sex offenses may be properly considered pursuant to
[Evidence Code] section 1108.” (Villatoro, at p. 1165.)
        Given that the propensity to commit sexual offenses is not
a common attribute among the general public, evidence that a
particular defendant has such a propensity is especially
probative. (Villatoro, supra, 54 Cal.4th at p. 1164.) The court
retains the power to exclude such evidence under Evidence Code
section 352 if it finds that it poses a substantial danger of undue
prejudice.
E.    Evidence Code Section 1108 Does Not Violate Due
      Process.
      Appellant contends Evidence Code section 1108 violates
due process.




                                21
       As before, appellant acknowledges we must follow People v.
Falsetta (1999) 21 Cal.4th 903 (Falsetta), which upheld Evidence
Code section 1108 against a due process challenge. (Auto Equity
Sales, supra, 57 Cal.2d at p. 455.) Falsetta extensively analyzed
the issue (Falsetta, at pp. 911–915) and concluded the “trial
court’s discretion to exclude propensity evidence under [Evidence
Code] section 352 saves [Evidence Code] section 1108 from
defendant’s due process challenge.” (Falsetta, at p. 917.) We note
the Supreme Court has repeatedly refused to revisit Falsetta.
(People v. Lewis (2009) 46 Cal.4th 1255, 1288–1289; People v. Loy
(2011) 52 Cal.4th 46, 60–61; People v. Daveggio and Michaud
(2018) 4 Cal.5th 790, 827; People v. Molano (2019) 7 Cal.5th 620,
664; People v. Baker (2021) 10 Cal.5th 1044, 1090.)
       As is true of Villatoro, there is much in Falsetta that is
persuasive. Among other aspects of Falsetta, the practical
observation of particular interest is that sex crimes are usually
committed without third party witnesses and propensity evidence
is therefore probative.6




6      “As the legislative history indicates, the Legislature’s
principal justification for adopting [Evidence Code] section 1108
was a practical one: By their very nature, sex crimes are usually
committed in seclusion without third party witnesses or
substantial corroborating evidence. The ensuing trial often
presents conflicting versions of the event and requires the trier of
fact to make difficult credibility determinations. Section 1108
provides the trier of fact in a sex offense case the opportunity to
learn of the defendant’s possible disposition to commit sex
crimes.” (Falsetta, supra, 21 Cal.4th at p. 915.)




                                 22
F.    The Abstract of Judgment Must Be Amended to
      Include an Order for AIDS Testing.
       In its oral pronouncement of judgment, the court did not
order AIDS testing. However, the minute order of the sentencing
states appellant must submit to an AIDS test per Penal Code
section 1202.1.
       “[T]he court shall order every person who is convicted of . . .
a sexual offense listed in subdivision (e), whether or not a
sentence or fine is imposed or probation is granted, to submit to a
blood or oral mucosal transudate saliva test for evidence of
antibodies to the probable causative agent of acquired
immunodeficiency syndrome (AIDS) within 180 days of the date
of conviction.” (§ 1202.1, subd. (a).)
       Appellant was convicted of oral copulation and of violations
of section 288. Both offenses require AIDS testing under section
1202.1. (§ 1202.1, subds. (e)(4) [oral copulation] and (e)(5)(A)(iii)
[section 288 violation].)
       “The trial court has no discretion in the matter; the order
for the AIDS blood test is mandatory. (§ 120[2].1, subd. (a);
[Citation.].) The trial court’s sentence omitting the order for an
AIDS test was unauthorized and subject to correction at any
time.” (People v. Barriga (1997) 54 Cal.App.4th 67, 70.)
       The case must be remanded for an AIDS test and for
amendment to the Abstract of Judgment.




                                 23
                         DISPOSITION
      The judgment is affirmed. The case is remanded with
directions to amend the Abstract of Judgment to include an order
for AIDS testing.

     NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS




                                         STRATTON, P. J.

We concur:




             WILEY, J.




             VIRAMONTES, J.




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